79 F.3d 1142
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Said Nouhad ADRA, Defendant-Appellant.
    No. 95-7412.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  February 27, 1996.Decided:  March 19, 1996.
    
      Said Nouhad Adra, Appellant Pro Se.  Sarah Margaret Mortenson, David Joel Stander, OFFICE OF THE UNITED STATES ATTORNEY, Alexandria, VA, for Appellee.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   United States v. Adra, Nos.  CR-93-187-A;  CA-95-546-AM (E.D.Va. July 24, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.   The motion for appointment of counsel is denied.
    
    AFFIRMED
    